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 3                                   UNITED STATES DISTRICT COURT
 4                                       DISTRICT OF NEVADA
 5    ASHENAFI GERRE ABERHA,                                   Case No. 3:20-cv-00524-LRH-WGC
 6                                           Petitioner,
              v.                                                            ORDER
 7
      WILLIAM GITTERE, et al.,
 8
                                          Respondents.
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10          Petitioner Ashenafi Gerre Aberha, a Nevada state prisoner, has submitted a pro se Petition
11   for Writ of Habeas Corpus (ECF No. 1-1) pursuant to 28 U.S.C. § 2254. This matter is before the
12   Court on Aberha’s Application to Proceed In Forma Pauperis (“IFP”) (ECF No. 1). For the
13   reasons discussed below, the Court denies his IFP application and orders him to pay the filing fee.
14          Under 28 U.S.C. § 1914(a) and the Judicial Conference Schedule of Fees, a $5.00 filing
15   fee is required to initiate a habeas action in a federal district court. Indigent prisoners who do not
16   have money to pay the $5.00 filing fee may request IFP status to waive the fee. A federal district
17   court may authorize a person to begin an action without prepaying fees and costs if the person
18   submits an IFP application on the approved form along with the appropriate supporting
19   documentation. 28 U.S.C. § 1915(a); LSR 1-1, LSR 1-2.
20          Although Aberha submitted the required form, the supporting documents show he is able
21   to pay the $5.00 filing fee. Thus, he does not qualify for a fee waiver. The Court therefore denies
22   Aberha’s IFP application and he will have 45 days to pay the $5.00 filing fee.
23          IT IS THEREFORE ORDERED:
24          1. Aberha’s Application to Proceed In Forma Pauperis (ECF No. 1) is DENIED.
25          2. Aberha must pay the $5.00 fee by November 30, 2020.
26          3. The Clerk of Court is instructed to MAIL Aberha two copies of this order. Aberha must
27                 make the necessary arrangements to have a copy of this order attached to the check for
28                 the filing fee.


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 1   4. The initial screening of Aberha’s Petition for Writ of Habeas Corpus (ECF No.1-1)

 2      under the Rules Governing Section 2254 Cases in the United States District Courts and

 3      consideration of the Motion for Appointment of Counsel (ECF No. 1-2) are deferred to

 4      until such time as he has fully complied with this order.

 5   5. Aberha’s failure to timely comply with this order will result in the dismissal of this

 6      action without further advance notice.

 7   DATED this 15th day of October, 2020.
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 9                                                LARRY R. HICKS
                                                  UNITED STATES DISTRICT JUDGE
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